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                                             United States Bankruptcy Court
                                                    District of Idaho

                                                                                 Case
In re VERNON KENNETH SMITH, JR.                                                  No.    18-01171-JDP

                                                                       Debtors   Chapter 11

                     PLAN OF REORGANIZATION DATED FEBRUARY 15, 2019

                                                                ARTICLE I
                                                                SUMMARY

     This Plan of Reorganization (the "Plan") under chapter 11 of the Bankruptcy Code (the
"Code") proposes to pay creditors of Vernon Kenneth Smith, Jr., as "Debtor.” Funds will be
generated from Debtor’s share of the Estate of Victoria H. Smith, Deceased, pending in probate
in Ada County, Idaho. Whenever the term "Distribution Date" is used in this Plan, it is defined
to mean the date of distribution to Debtor of his share of the Victoria Smith Estate in whole or in
a sufficient part thereof to satisfy the claims.

     This Plan provides for classes of secured claims as set forth below; priority claims; one class
of unsecured claims; and one class of equity security holders. Creditors holding allowed claims
will receive distributions as set forth in this Plan. This Plan also provides for the payment of
administrative and priority claims to Debtor’s attorneys and accountants upon approval by the
Court. The administrative claims shall be paid upon the Effective Date of the Plan or the
Distribution Date.

    All creditors and equity security holders should refer to the entirety of this Plan for
information regarding the precise treatment of their claim. A disclosure statement that provides
more detailed information regarding this Plan and the rights of creditors and equity security
holders has been circulated with this Plan. Your rights may be affected. You should read
these papers carefully and discuss them with your attorney, if you have one. (If you do not
have an attorney, you may wish to consult one.)

                                            ARTICLE II
                              CLASSIFICATION OF CLAIMS AND INTERESTS

     2.01 Class 1. PRIORITY CLAIMS: All allowed claims entitled to priority under § 507
of the Code (except administrative expense claims under § 507(a)(2), and priority tax claims
under § 507(a)(8). This includes any taxes which may be assessed either prepetition or
postpetition for prepetition tax years; postpetition assessments for postpetition years are
administrative claims. In addition, Debtor will agree to satisfy 2/3 of any estate tax claims
which may be assessed and unpaid by the Personal Representative of the Estate of Victoria
Smith, Deceased.
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    2.02 Class 2. PROPERTY TAX CLAIMS: The following creditors hold statutory
property tax liens, as follows:

              2-A-1 and 2 Ada County Treasurer: This creditor holds first position liens for
          property taxes on Debtor’s real property in Ada County, Idaho. Debtor does not believe
          that any are owing. This specifically includes Debtor’s interest in the properties being
          administered in the Victoria H. Smith probate case, as Idaho law provides that those
          properties passed to Debtor, his sister and brother effective on date of death of the
          decedent, subject to administration.

     2.03 Class 3: SECURED CLAIMS: To the extent that there are any allowed secured
claims, each such creditor's claim will be paid from Debtor’s share of the probate Estate of
Victoria Smith, Deceased. Debtor reserves the right to litigate any such claims as may be
asserted, including the claim filed by Noah Hillen, Personal Representative of the Estate of
Victoria Smith, Deceased. Debtor does not concede that the Personal Representative may
"offset" any claim from Debtor’s share of the Victoria Smith Estate. There shall be no ‘default
interest’ or late charges accrued on any of these obligations.

     2.04 Class 4. UNSECURED CLAIMS: All unsecured claims allowed under § 502 of
the Code, including unsecured portions of secured claims or non-priority portions of tax claims.
All such claims shall be paid in full, and shall include interest accruing post-confirmation at 2%
per annum until paid. Payments shall commence 30 days after the Distribution Date. Debtor
will object to claims which are believed to be overstated or invalid and the claims as allowed
shall be the claims paid. the Effective Date and monthly thereafter.

                                            ARTICLE III
                         TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                          U.S. TRUSTEE'S FEES, AND PRIORITY TAX CLAIMS

    3.01 Unclassified Claims. Under section §1123(a)(1), administrative expense claims, and
priority tax claims are not in classes.

     3.02 Administrative Expense Claims. Each holder of an administrative expense claim
allowed under § 503 of the Code will be paid in full on the Effective Date of this Plan (as defined
in Article VII) or upon the expiration of 30 days from the Distribution Date, whichever is later,
or upon such other terms as may be agreed upon by the holder of the claim and the Debtor. This
includes legal and accounting fees.

    3.03 Priority Tax Claims. Each holder of a priority tax claim will be paid over 60 months
from the date of the petition at 5% interest. Payments shall begin 30 days following the
Effective Date or the Distribution Date, whichever is later.


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      If the Debtor fail to make any deposits of any currently accruing employment tax liability or
      fails to make payment of any tax to the IRS or State Tax Commission within 30 days of the
      due date of such deposit or payment, or fail to file any required federal tax return with 30
      days of the due date of such return (as may be extended), then such agency may declare that
      the debtor is in default of the Plan. Failure to declare a default does not constitute a waiver
      by such agency of the right to declare that the successor in interest or debtor is in default.

      If such agency declares the debtor or the successor in interest to be in default of the debtor’s
      obligations under the Plan, and such default is valid and uncured for a period of 30 days,
      then the entire pre-petition liability shall become due and payable immediately upon written
      demand to the debtor or the successor in interest.

      If the default is not cured within 30 days of such demand, or other arrangement agreed in
      writing, then such agency may collect any unpaid liabilities through the administrative
      collection provisions of the appropriate tax code.

      Nothing herein contained shall preclude the right of the Debtor to contest such default in
      good faith.

    3.04 United States Trustee Fees. All fees required to be paid by 28 U.S.C. §1930(a)(6)
(U.S. Trustee Fees) will accrue and be timely paid until the case is closed, dismissed, or
converted to another chapter of the Code. Any U.S. Trustee Fees owed on or before the effective
date of this Plan will be paid on the effective date.

                                   ARTICLE IV
                 TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

      4.01 Claims and interests shall be treated as follows under this Plan:


             Class                                 Impairment                     Treatment
Class 1 - Priority Claims:                        Impaired.       See paragraph 3.01-3.03 above.
This class consists of claims
under 11 USC §507.


Class 2 - Property Tax                            All creditors   Any unpaid property taxes on property
Claims: These are classified                      in these        which is retained (2-A-1) shall be paid by
in Class 2-A-1 and 2-A-2, and                     classes are     Debtor directly, as the same come due.
include the claims for the two                    Impaired.
properties owned or affiliated
with Debtor.


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Class 3 - Secured Creditors:                      Impaired      All secured creditors shall retain their liens
These creditors have liens or,                                  until completion of this Plan. Each creditor
in the case of the Personal                                     is considered a separate class for purposes
Representative of the Estate                                    of voting and treatment, and shall receive a
of Victoria Smith, a claimed                                    separate ballot.
offset on Debtor’s share of the                                 All creditors whose collateral is to be
Victoria Smith Estate. This                                     ‘retained’ shall be paid the allowed secured
claim is disputed.                                              value of such collateral as provided.

                                                                Any defaults will be cured by being
                                                                included as part of this payment. No
                                                                separate payment on defaults will occur, as
                                                                the full allowed secured claim is being paid
                                                                over the life of the Plan.

Class 4 - General Unsecured                       Impaired.     The creditors in this class shall receive
Creditors:                                                      payment as set forth in this Plan.

Administrative Expense                                          See paragraphs 3.02 and 3.04.
Claims and US Trustee:



                                         ARTICLE V
                            ALLOWANCE AND DISALLOWANCE OF CLAIMS

    5.01 Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed
[by a final non-appealable order], and as to which either: (i) a proof of claim has been filed or
deemed filed, and the Debtor or another party in interest has filed an objection; or (ii) no proof of
claim has been filed, and the Debtor has scheduled such claim as disputed, contingent, or
unliquidated.

     5.02 Delay of Distribution on a Disputed Claim. No distribution will be made on account
of a disputed claim unless such claim is allowed by a final non-appealable order.

    5.03 Settlement of Disputed Claims. The Debtor will have the power and authority to settle
and compromise a disputed claim with court approval and compliance with Rule 9019 of the
Federal Rules of Bankruptcy Procedure.

                               ARTICLE VI
        PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES

      6.01 Assumed Executory Contracts and Unexpired Leases.

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    (a) The Debtor assumes the following executory contracts and/or unexpired leases
effective upon the effective date of this Plan:

   Name of Other Parties to Lease or Contract                          Description of Contract or Lease
            Victoria H. Smith Estate                              Lease of office and storage at 1900 Main St.,
                                                                                    Boise, ID
           VHS Properties or Riverside Farms                     Any lease of property from Victoria Smith Estate
                                                                        or the successor in interest thereto
                                Victoria

     (b) The Debtor will be deemed to have rejected all executory contracts and/or unexpired
leases not expressly assumed under section 6.01(a) above, or before the date of the order
confirming this Plan, upon the effective date of this Plan. However, those contracts or leases in
which Debtor are landlords are all deemed ASSUMED under this Plan. A proof of a claim
arising from the rejection of an executory contract or unexpired lease under this section must be
filed no later than (30) days after the date of the order confirming this Plan.

                             ARTICLE VII
        MEANS FOR IMPLEMENTATION OF THE PLAN AND LIEN AVOIDANCE

       Debtor is entitled to 2/3 of the Estate of Victoria H. Smith, Deceased, being administered
in the Magistrate’s Court for Ada County, Idaho, in Boise. The Personal Representative is
pursuing the administration and closing of the Estate. Debtor is paying all payments under the
Plan via his share thereof, which should be worth over $10 million minimum after offsets. There
is more than enough to pay all claims made in this bankruptcy case. Upon request of a creditor,
a financial report for Debtor shall be prepared quarterly, and a copy furnished to the requesting
party.

                                                      ARTICLE VIII
                                                   GENERAL PROVISIONS

     8.01 Definitions and Rules of Construction. The definitions and rules of construction set
forth in §§ 101 and 102 of the Code shall apply when terms defined or construed in the Code are
used in this Plan, and they are supplemented by the following definitions:

     8.02 (a) Effective Date of Plan. The effective date of this Plan is the fifteenth business day
following the date of the entry of the order of confirmation. If a stay of the confirmation order is
in effect on that date, the effective date will be the first business day after that date on which no
stay of the confirmation order is in effect, provided that the confirmation order has not been
vacated.
           (b) Distribution Date. The date of distribution to Debtor of his share of the Victoria H.
Smith Estate in whole or in a sufficient part thereof to satisfy the claims. This date is, at this
time, unknown.

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    8.03 Severability. If any provision in this Plan is determined to be unenforceable, the
determination will in no way limit or affect the enforceability and operative effect of any other
provision of this Plan.

     8.04 Binding Effect. The rights and obligations of any entity named or referred to in this
Plan will be binding upon, and will inure to the benefit of the successors or assigns of such
entity.

    8.05 Captions. The headings contained in this Plan are for convenience of reference only
and do not affect the meaning or interpretation of this Plan.

     8.06 Controlling Effect. Unless a rule of law or procedure is supplied by federal law
(including the Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of
Idaho govern this Plan and any agreements, documents, and instruments executed in connection
with this Plan, except as otherwise provided in this Plan.

    8.07 Retention of Rights. Debtor hereby specifically provide that all rights under 11 USC
§550 are and will be preserved for benefit of the Estate, and will pass to any Chapter 7 Trustee
should this case be converted to Chapter 7 hereafter.

                                                                ARTICLE IX
                                                                DISCHARGE

     9.01 Discharge. Debtor will be discharged from any debt that arose before confirmation of
this Plan, subject to the occurrence of the effective date, to the extent specified in 11 USC
§1141(d)(1)(A) of the Code upon compliance with §1141(d)(5). Upon payment of the unsecured
creditors’ dividend, and completion of the Plan, Debtor will seek such Discharge.

      Respectfully submitted,


                                                                     By: /s/ Vernon K. Smith, Jr.
                                                                         Vernon K. Smith, Jr.
                                                                         Plan Proponent

                                                                           LAW OFFICES OF D. BLAIR CLARK PC

                                                                           /s/ D. Blair Clark
                                                                     By:
                                                                           Attorneys for the Plan Proponents




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